 Case 17-11697       Doc 252   Filed 06/23/20 Entered 06/24/20 08:52:56            Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                BK No.: 17-11697
Arthur B. Adler and Associates, Ltd          )
                                             )                Chapter: 7
                                             )
                                                              Honorable Jack Schmetterer
                                             )
                                             )
               Debtor(s)                     )
                                         ORDER GRANTING
     CHAPTER 7 TRUSTEE'S MOTION TO APPROVE SETTLEMENT PURSUANT TO
     FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019 AND TO LIMIT NOTICE
       This Cause comes to be heard on CHAPTER 7 TRUSTEE'S MOTION TO APPROVE
SETTLEMENT PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019 AND
TO LIMIT NOTICE, it appearing to the Court that the proposed settlement is reasonable and within the
Trustee's business judgment for the reasons set forth in the motion; it further appearing that there is
good cause to limit notice to those who have requested it through CM/ECF or who have filed claims;

   Now therefore,Trustee's motion is granted and Unifund CCR, LLC's amended Claim 4 shall be
allowed as an unsecured claim in the amount of $100,000.




                                                         Enter:


                                                                  Honorable Jack B. Schmetterer
Dated: June 23, 2020                                              United States Bankruptcy Judge

 Prepared by:
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